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                  IN THE UNITED STATES BANKRUPTCY COURT FOR
                      THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                      CHAPTER 13 CASE NO:

KIMBERLY C. WHITE                                                      15-12527-JDW

         NOTICE OF MOTION FOR ORDER DECLARING CLAIM SATISFIED

        You are hereby notified that Locke D. Barkley, Chapter 13 Trustee, has filed the attached
Motion for Order Declaring Claim Satisfied in the above styled Chapter 13 proceeding as to the
within named mortgage creditor.

        Should any party receiving this notice respond or object to said motion, such response or
objection is required to be filed on or before September 23, 2019, with the Clerk of this Court
using the CM/ECF system or at the following address:

                                 Shallanda J. Clay, Clerk of Court
                                     U. S. Bankruptcy Court
                                 Northern District of Mississippi
                                     703 Highway 145 North
                                       Aberdeen, MS 39730

        Furthermore, a copy must be served on the undersigned attorney for the Trustee. If no
responses are filed, the Court may consider said motion immediately after the time for responses
has expired. In the event a written response is filed, the Court will notify you of the date, time and
place of the hearing thereon.

                                          CERTIFICATE

       I the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I either
mailed by United States Postal Service, first class, postage prepaid, or electronically notified
through the CM/ECF system, a copy of the above and foregoing to all affected creditors and their
attorney(s), if known.

Dated: August 28, 2019.
                                               LOCKE D. BARKLEY
                                               CHAPTER 13 TRUSTEE

                                               /s/ Melanie T. Vardaman
                                               ATTORNEYS FOR TRUSTEE
                                               W. Jeffrey Collier (MSB 10645)
                                               Melanie T. Vardaman (MSB 100392)
                                               6360 I-55 North, Suite 140
                                               Jackson, Miss. 39211
                                               (601) 355-6661
                                               ssmith@barkley13.com
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                  IN THE UNITED STATES BANKRUPTCY COURT FOR
                      THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                   CHAPTER 13 CASE NO.:

KIMBERLY C. WHITE                                                   15-12527-JDW

                 MOTION FOR ORDER DECLARING CLAIM SATISFIED

          COMES NOW the Locke D. Barkley, Chapter 13 Trustee (the “Trustee”) by and through

counsel, and files this Motion for Order Declaring Claim Satisfied as to the claim of United

States of America, United State Department of Agriculture, Rural Housing Service (Clm. #4-2)

(the “Creditor”) and in support thereof states as follows:

          1.    The Debtor’s Chapter 13 Plan was confirmed by Order of this Court entered

December 8, 2015, for a term of sixty (60) months (Dkt. #26) (the “Confirmed Plan”). The

Confirmed Plan provided for a 100% distribution to nonpriority unsecured creditors with timely

filed and allowed proofs of claim.

          2.    The Confirmed Plan provided for payment of the secured claim (Clm. #4-2) (the

“Claim”) of the Creditor, which is secured by real property located at 63 Ruby Lane, Holly

Springs, MS 38635.

          3.    On or about August 20, 2019, the Trustee received correspondence from the

Creditor stating that the Claim has been satisfied.

          4.    The Trustee requests an order of this Court deeming the Claim of the Creditor fully

satisfied, including, but not limited to, pre-petition arrearage, and all post-petition payments,

escrow shortages and deficiencies, advances, charges, expenses, fees, and attorney’s fees incurred

by the Debtor or charged by the Creditor during the course of the bankruptcy, as of the date stated

herein.
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         WHEREFORE, PREMISES CONSIDERED, the Trustee requests this Court enter its
order:
         a.    Deeming the mortgage loan of the Creditor fully satisfied, including the pre-

petition arrearage, all post-petition payments, advances, charges, expenses, fees, and attorney’s

fees incurred by the Debtor or charged by the Creditor during the course of the bankruptcy;

         b.    That any fees, charges, or expenses that the Creditor may allege owed in

connection with any alleged default on the Claim or otherwise, which were not approved by this

Court through the allowance of the Claim of the Creditor or otherwise, be deemed cured by

completion of the Confirmed Plan and therefore canceled and discharged;

         c.    That the Creditor release its lien and otherwise comply with applicable

nonbankruptcy law; and

         d.    Awarding such other and further relief as is just and proper.

         Dated: August 28, 2019.
                                             Respectfully submitted,

                                             LOCKE D. BARKLEY
                                             CHAPTER 13 TRUSTEE

                                             /s/ Melanie T. Vardaman
                                             ATTORNEYS FOR TRUSTEE
                                             W. Jeffrey Collier (MSB 10645)
                                             Melanie T. Vardaman (MSB 100392)
                                             6360 I-55 North, Suite 140
                                             Jackson, Miss. 39211
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                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I either
mailed by United States Postal Service, first class, postage prepaid, or electronically notified
through the CM/ECF system, a copy of the above and foregoing to the Debtor, attorney for the
Debtor, the United States Trustee, and other parties in interest, if any, as identified below.

       USDA-Rural Housing Service Centralized Servicing Center
       P.O. Box 66879
       St. Louis, MO 63166

       USDA-RHS
       c/o Centralized Service Center
       Post Office Box 790170
       St. Louis, MO 63179-0170

       USDA
       c/o U.S. Attorney
       900 Jefferson Avenue
       Oxford, MS 38655-3351

Dated: August 28, 2019


                                               /s Melanie T. Vardaman
                                               MELANIE T. VARDAMAN
